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                        IN THE UNITED STATES DISTRICT COURT FOR THE
                               NORTHERN DISTRICT OF FLORIDA
                                    PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                                                Case Nos.:         3:06cr460/MCR/EMT
                                                                                      3:14cv591/MCR/EMT
DASHANE LAUREL
_______________________________________/
                                   REPORT AND RECOMMENDATION
         This matter is before the court upon Defendant’s Motion to Vacate, Set Aside, or Correct
Sentence Pursuant to 28 U.S.C. § 2255 (doc. 191).1 Rule 4(b) of the Rules Governing Section 2255
Proceedings for the United States District Courts provides in part that “[i]f it plainly appears from
the motion, any attached exhibits, and the record of prior proceedings that the moving party is not
entitled to relief, the judge must dismiss the motion and direct the clerk to notify the moving party.”
After a review of the record, it is the opinion of the undersigned that the court is without jurisdiction
to entertain Defendant’s motion and that it should be summarily dismissed.2
                                       BACKGROUND and ANALYSIS
         Defendant was sentenced to a term of 292-months imprisonment after being convicted of
controlled substance offenses (doc. 111). His conviction and sentence were affirmed on appeal (doc.
125). He then challenged his conviction by means of a motion to vacate pursuant to 28 U.S.C.
§ 2255 (doc. 128). This motion was denied in 2011 after Defendant filed no objections to the
undersigned’s recommendation (see docs. 153, 156). Defendant’s request for a certificate of


         1
            Defendant’s motion actually bore no “caption” or “title.” However, because Defendant is seeking post-
conviction relief due to an allegedly unconstitutional sentence, which is the sort of relief typically sought under 28 U.S.C.
§ 2255, and no other jurisdictional basis is cited, the clerk was directed to docket his submission as a motion pursuant
to 28 U.S.C. § 2255.
         2
           Defendant’s motion is not on the appropriate court form as required by Northen District of Florida Local Rule
5.1(J)(2). If summary dismissal were not warranted in this case, the court would require Defendant to file an amended
motion on the court form before his case could proceed.
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appealability was denied by both the district court and the Eleventh Circuit Court of Appeals (docs.
170, 181). Defendant has now filed another motion to vacate in which he appears to seek relief
pursuant to the Supreme Court’s decision in Alleyne v. United States, 133 S. Ct. 2151 (2013), which
relief he claims is warranted “without regard to retroactivity” (doc. 191 at 4).
         This court does not have jurisdiction to entertain Defendant’s motion. Before a second or
successive application for § 2255 relief is filed in the district court, the litigant must typically move
in the appropriate court of appeals for an order authorizing the district court to consider the
application. 28 U.S.C. § 2244(b)(3) and § 2255(h); Felker v. Turpin, 518 U.S. 651 (1996); United
States v. Holt, 417 F.3d 1172, 1175 (11th Cir. 2005); Carter v. United States, 405 F. App’x 409
(11th Cir. 2010). Defendant’s successive motion falls within the larger subset of cases for which
such authorization is required, as he is challenging the same judgment he challenged in his initial
motion. This authorization is required even when, as here, a defendant asserts that his motion is
based on the existence of a new rule of constitutional law, made retroactive to cases on collateral
review by the Supreme Court, that was previously unavailable. 28 U.S.C. § 2255(h)(2). Defendant
has not obtained authorization from the Eleventh Circuit Court of Appeals to file a successive
motion and, therefore, the instant motion to vacate must be dismissed without prejudice.
                                 CERTIFICATE OF APPEALABILITY
         Rule 11(a) of the Rules Governing Section 2255 Proceedings for the United States District
Court (“§ 2255 Rules”) provides that “[t]he district court must issue or deny a certificate of
appealability when it enters a final order adverse to the applicant,” and if a certificate is issued “the
court must state the specific issue or issues that satisfy the showing required by 28 U.S.C.
§ 2253(c)(2).” A timely notice of appeal must still be filed, even if the court issues a certificate of
appealability. Rule 11(b), § 2255 Rules.
         After review of the record, the court finds no substantial showing of the denial of a
constitutional right. § 2253(c)(2); Slack v. McDaniel, 529 U.S. 473, 483–84 (2000) (explaining how
to satisfy this showing) (citation omitted). Therefore, it is also recommended that the court deny a
certificate of appealability in its final order.
         The second sentence of Rule 11(a) provides: “Before entering the final order, the court may
direct the parties to submit arguments on whether a certificate should issue.” If there is an objection

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to this recommendation by either party, that party may bring this argument to the attention of the
district judge in the objections permitted to this report and recommendation.
         Accordingly, it is respectfully RECOMMENDED:
         1.       Defendant’s motion to vacate pursuant to 28 U.S.C. § 2255 (doc. 191), be
SUMMARILY DISMISSED, as this court lacks jurisdiction to consider a successive motion absent
authorization from the Eleventh Circuit.
         2.       A certificate of appealability be DENIED.
         At Pensacola, Florida, this 29th day of October 2014.



                                                   /s/ Elizabeth M. Timothy
                                                   ELIZABETH M. TIMOTHY
                                                   CHIEF UNITED STATES MAGISTRATE JUDGE




                                       NOTICE TO THE PARTIES

       Any objections to these proposed findings and recommendations must be filed within
fourteen (14) days after being served a copy thereof. Any different deadline that may appear
on the electronic docket is for the court’s internal use only. A copy of objections shall be
served upon all other parties. Failure to object may limit the scope of appellate review of
factual findings. See 28 U.S.C. § 636; United States v. Roberts, 858 F.2d 698, 701 (11th Cir.
1988).




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